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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


                                                        Case No. 22-33553 (CML)
   In re
   Alexander E. Jones,                                  Chapter 11
                Debtor



         THE CONNECTICUT FAMILIES’ WITNESS AND EXHIBIT LIST

 Judge                   Hon. Christopher M. Lopez
 Hearing Date            Thursday, June 27, 2024
 Hearing Time            9:00 a.m. (CST)
 Party’s Name            Connecticut Families
 Attorney’s Names        Ryan Chapple
 Attorney’s Phone        512-477-5000 (Ryan Chapple)
 Nature of Proceeding    Trustee’s Emergency Motion [Dkt. No. 720]

      David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto,

Jillian Soto-Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica L.

Ash (collectively, the “Connecticut Families”) hereby submit this Witness and Exhibit List

in connection with the hearing on Trustee’s Emergency Motion to (1) Clarify Transfer of

Control and Signing Authority with Respect to Debtor’s Bank Accounts, (2) for an Order

Extending Automatic Stay in the Alex Jones Case to Free Speech Systems LLC, and (3)

Related Relief (inclusive of exhibits thereto) (the “Motion”) [Dkt. No. 720], to be held on

Thursday, June 27, 2024, at 9:00 a.m. (Central Standard Time).




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        The Connecticut Families reserve the right to supplement, amend, or revise this

Witness and Exhibit List at any time prior to the hearing. The Connecticut Families

reserve the right to supplement this Witness and Exhibit List with new witnesses and

additional exhibits. Further, the Connecticut Families reserve the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document.

The Connecticut Families further reserve the right to introduce exhibits previously

admitted.

                                           WITNESS LIST

        The Connecticut Families may call the following witnesses at the Motion Hearing:

     1. Any witness necessary to rebut the testimony of any witness called or designated

        by any other parties;

     2. Any witness listed or called by any other party.


                                           EXHIBIT LIST

        The Connecticut Families may offer for admission into evidence any of the

following exhibits at the Motion Hearing:

                                                                Admitted/    Disposition
 No.             Description                Offered Objection     Not
                                                                Admitted
 1      Hearing Transcript of June 14,
        2024

 2      Plaintiffs’ Original Petition in
        Intervention and Emergency
        Motion to Reconsider filed June
        21, 2024, Cause No. D-1-GN-18-
        001835, 261st Judicial District
        Court of Travis County, Texas
        (inclusive of exhibits thereto)

        Any document or pleading filed
        in the above-captioned case




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      Any exhibits identified or
      offered by any other party

      Any exhibits necessary for
      impeachment and/or rebuttal
      purposes



Dated: June 26, 2024                         Respectfully submitted,

                                             CAIN & SKARNULIS PLLC
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                                             WHARTON & GARRISON LLP
                                             Kyle J. Kimpler (admitted pro hac vice)
                                             Paul Paterson (admitted pro hac vice)
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                                             Co-Counsel to the Connecticut
                                             Families




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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for the Debtor, the Debtor, and all parties
receiving or entitled to notice through CM/ECF on this 26th day of June, 2024.

                                               Ryan E. Chapple
                                               Ryan E. Chapple




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